
206 P.3d 656 (2009)
Su-Ling LINEBERRY, Petitioner,
v.
THE DEPARTMENT OF LABOR and INDUSTRIES and The Boeing Company, Respondents.
No. 82670-6.
Supreme Court of Washington.
April 29, 2009.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Alexander and Justices Madsen, Chambers, Fairhurst and Stephens, at its April 28, 2009, Motion Calendar, considered whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is denied and the Petitioner's motion to supplement the petition is denied. The Respondent Boeing's request for attorney fees is granted. The Respondent is awarded reasonable attorney fees and expenses pursuant to RAP 18.1(j). The amount of the attorney fees and expenses will be determined by the Supreme Court Clerk pursuant to RAP 18.1. Pursuant to RAP 18.1(d), Respondent should file an affidavit with the Clerk of the Washington State Supreme Court.
For the Court
/s/ Gerry L. Alexander
CHIEF JUSTICE
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